         Case 18-01171-JDP         Doc 173 Filed 11/07/19            Entered 11/07/19 09:33:41           Desc
                                   Closing Dismissed Case            Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF IDAHO


In Re:                                                      )
                                                            )
Vernon Kenneth Smith Jr.                                    )   Case Number: 18−01171−JDP
dba Law Office of Vernon K Smith LLC                        )
1900 W. Main Street                                         )   Chapter Number: 11
Boise, ID 83702                                             )
                                                            )
Social Security No.: xxx−xx−6617                            )
Employer's Tax I.D. No.:                                    )
                                                            )
Debtor                                                      )

____________________________________________

                   ORDER DISCHARGING TRUSTEE AND CLOSING DISMISSED CASE


IT APPEARING to the Court that the Trustee has performed all duties required in the administration of the estate;

IT IS ORDERED that the Trustee is DISCHARGED from and relieved of the trust; and that the bond of said trustee
is released from further liability thereunder, except any liability which may have occurred during the time such bond
was in effect and the case is CLOSED.

                                                  AUDIT NOTICE

If prior to the receipt of this notice, the Bankruptcy Trustee took possession of any money, checks or other property
and that property has not been returned to you, please contact the U.S. Trustee at (208) 334−1300.




                                                                Stephen W Kenyon
Dated: 11/7/19                                                  Clerk, U.S. Bankruptcy Court
